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                                                March 25, 2020

  By ECF

  Honorable Sanket J. Bulsara
  United States District Court for the
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                 Re:     Hamilton v. City of New York, et al., 15-CV-4574 (CBA) (SJB).

  Dear Magistrate Judge Bulsara:

          We are professional responsibility counsel to Elefterakis, Elefterakis & Panek, counsel to
  plaintiff Derrick Hamilton in the above-captioned case, and are writing in response to the March
  24, 2020 letter of Joseph R. Corozzo, Esq., counsel to Scott Brettschneider. (ECF Doc. No. 193)
  First, we do not object to Mr. Corozzo’s request for an adjournment based upon issues related to
  the ongoing health crisis.

          Second, however, we vigorously object to the balance of the letter and move that it be
  stricken. As Your Honor will recall, by Order dated January 17, 2020, this Court allowed the
  parties to submit five-page letter briefs and three-page replies by no later than February 21, 2020,
  with respect to each party’s positions concerning Mr. Brettschneider’s fee application. We
  followed the Court’s limitation and filed with the Court a five-page letter on February 7th (ECF
  Doc. No. 187) and a three-page letter on February 21st (ECF Doc. No. 187). Mr. Corozzo, who
  took advantage of the opportunity to submit a three-page reply (ECF Doc. No. 191), has now
  unilaterally decided – without an application to the Court and without permission by the Court –
  to submit eight (8) single-spaced pages of additional briefing related to the issue of Mr.
  Brettschneider’s supposed entitlement to a legal fee in this case. The supplemental submission,
  which goes well beyond a request for an extension of time to which we do not object, is improper.
  Accordingly, we ask this Court to strike the portions of Mr. Corozzo’s March 24th letter beginning
  with the first full paragraph on page 2 (beginning with the words “On January 17, 2020…” ) and
  up to, but not including, the conclusion on page 8.

                                                Respectfully submitted,

                                                /s/Michael S. Ross
                                                Michael S. Ross
                                                Eugene Gormakh
